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     Facsimile: (818) 788-9408
 4   Email: kessellaw@sbcglobal.net
 5   Attorney for Defendant
     NAM PHAMTRAN
 6
 7
                                  UNITED STATES DISTRICT COURT
 8
                          FOR THE CENTRAL DISTRICT OF CALIFORNIA
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10
     UNITED STATES OF AMERICA,                      )   CASE NO.: 2:05-CR-542-GEB
11                                                  )
                           Plaintiff,               )   STIPULATION RE: PERMISSION
12                                                  )   FOR DEFENDANT TO LEAVE
     vs.                                            )   CENTRAL DISTRICT JURISDICTION;
13                                                  )   ORDER THEREON
     NAM PHAMTRAN,                                  )
14                                                  )
                           Defendant.               )
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              IT IS HEREBY STIPULATED, by and between plaintiff, the UNITED STATES OF
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     AMERICA, and defendant NAM PHAMTRAN, through his counsel of record that:
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              1.    Defendant Nam Phamtran be permitted to leave the jurisdiction of the Central District
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     for a family vacation to Hawaii, from August 16, 2008, to August 28, 2008, for a period of two
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     weeks;
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              2.    Defendant Nam Phamtran, upon arriving in Las Vegas, Nevada shall contact his
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     pretrial services officer, STACY BARRIOS (714) 338-4561 , and advise him of the defendant's
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     location of residence and telephone number in Hawaii; and
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              3.    Defendant Nam Phamtran, upon return to his place of residence in the Central
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     District shall contact his pretrial services officer, STACY BARRIOS (714) 338-4561, and advise
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     him of defendant’s return from Hawaii.
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       Case 2:05-cr-00542-GEB Document 138 Filed 08/14/08 Page 2 of 2


 1   DATED: August 11, 2008
 2
 3                                                 /S/ Alex R. Kessel
                                               ALEX R. KESSEL
 4                                             Attorney for Defendant,
                                               NAM PHAMTRAM
 5
 6   DATED: August 11, 2008
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 8
                                                      /S/ Matthew Stegman
 9                                             MATTHEW STEGMAN
                                               Assistant United States Attorney
10                                             for Plaintiff, UNITED STATES OF AMERICA
11
                                        ORDER
12
           IT IS SO ORDERED.
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14   Dated: August 13, 2008

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16                                    GARLAND E. BURRELL, JR.
                                      United States District Judge
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